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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                           )
    In re:                                                 ) Chapter 11
                                                           )
    BLACKHAWK MINING LLC, et al.,1                         ) Case No. 19-11595 (LSS)
                                                           )
                              Debtors.                     ) (Jointly Administered)
                                                           )

                   DEBTORS’ MOTION FOR ENTRY OF AN ORDER
                  (A) APPROVING THE DEBTORS’ FIRST AMENDED
           JOINT PREPACKAGED CHAPTER 11 PLAN OF REORGANIZATION,
        (B) APPROVING THE FORM OF NOTICE AND SCHEDULE OF DATES AND
       DEADLINES RELATING THERETO, AND (C) GRANTING RELATED RELIEF

             The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state as follows in support of this motion:2

                                                    Introduction

                   The Debtors seek to implement modifications to their confirmed chapter 11 plan of

reorganization [Docket No. 231] (the “Plan”) that, once approved, will facilitate the Debtors’

emergence from chapter 11 and, significantly, will not alter the treatment of any non-consenting

creditor classes. These modifications are responsive to changed circumstances—including a


1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number include: Blackhawk Mining LLC (5600); Blackhawk Coal Sales, LLC (9456); Blackhawk Land and
      Resources, LLC (7839); Blackhawk River Logistics, LLC (3388); Blue Creek Mining, LLC (2427); Blue
      Diamond Mining, LLC (3488); Eagle Shield, LLC (6721); FCDC Coal, Inc. (6188); Guyandotte Mining, LLC
      (4882); Hampden Coal, LLC (8241); Kanawha Eagle Mining, LLC (0586); Logan & Kanawha, LLC (3178);
      Panther Creek Mining, LLC (0627); Pine Branch Land, LLC (9661); Pine Branch Mining, LLC (9681); Pine
      Branch Resources, LLC (9758); Redhawk Mining, LLC (0852); Rockwell Mining, LLC (3874); Spruce Pine
      Land Company (2254); Spurlock Mining, LLC (2899); Triad Mining, LLC (7713); and Triad Trucking, LLC
      (6112). The location of the Debtors’ service address in these chapter 11 cases is 3228 Summit Square Place, Suite
      180, Lexington, Kentucky 40509.

2
      Capitalized terms used but not defined in this motion shall have the meanings ascribed to them in the Debtors’
      First Amended Joint Prepackaged Chapter 11 Plan of Reorganization [Docket No. 278] (the “Amended Plan”).
      The facts and circumstances supporting this motion and the relief requested herein can be found in the declaration
      of Kevin Nystrom, Managing Director at AlixPartners LLP and Chief Restructuring Officer of the Debtors and
      the declaration of Marc Puntus, Partner and co-head of the Debt Advisory and Restructuring Group of Centerview
      Partners LLC, each filed contemporaneously herewith.


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substantial decline in metallurgical and thermal coal pricing over the past several months,

decreased demand for certain of the Debtors’ production, and a corresponding reassessment by the

Debtors of their liquidity needs and the appropriate level of debt for the business going forward.

The modifications reflect agreement between the Debtors and supermajorities of their DIP term

lenders, prepetition first lien term lenders, and prepetition second lien term lenders. The Amended

Plan provides for:3

                 •    the issuance of first lien term loan take-back debt (the “New First Lien Loan”)
                      distributed in satisfaction of $85 million new money DIP funding, the same
                      treatment as under the Plan;

                 •    the equitization of the $100 million in DIP roll-up claims in exchange for 21.5%
                      of the reorganized equity (the “New Common Stock”), which modifies the
                      treatment for the DIP roll-up claims under the Plan by providing equity rather
                      than take-back debt;

                 •    the equitization of all prepetition first lien term loan claims in exchange for
                      68.5% of the New Common Stock, which modifies the treatment of the first
                      lien term loan claims under the Plan by eliminating take back debt that would
                      have been issued on account of such claims and reallocating equity among the
                      lender classes; and

                 •    the equitization of all prepetition second lien term loan claims in exchange for
                      10% of the New Common Stock, which modifies the treatment of the second
                      lien term loan claims under the Plan by reallocating equity among the lender
                      classes.

                 The net effect of these changes is to provide the Debtors with $35 million of

additional liquidity and to eliminate approximately $290 million in take-back debt as compared to

the original Plan. Importantly, however, these modifications do not change the treatment of other

creditors, and general unsecured creditors continue to ride through these chapter 11 cases

unimpaired. Other than as described above, the Amended Plan does not change the Plan. The


3
    Any summary of any terms of the Amended Plan contained in this motion is qualified in its entirety by reference
    to the provisions of the Amended Plan. The Amended Plan will control in the event of any inconsistency between
    this motion and the Amended Plan.


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Debtors also will comply with the terms of this Court’s confirmation order [Docket No. 251]

(the “Confirmation Order”), including negotiated resolutions of issues that were included in that

Confirmation Order.

               The Amended Plan modifications (the “Plan Modifications”) are the product of

extensive good-faith, arm’s-length negotiations among the Debtors and their ad hoc lender groups:

the crossover lender group and the first lien lender group, who collectively hold over 97% of the

claims under the DIP term loan facility and over 90% of the claims under each of the prepetition

first lien and second lien term loan facilities. These negotiations resulted in the execution of an

amendment to the restructuring support agreement (the “Amended RSA”), which secures the

support for the Plan Modifications necessary to carry each voting class under the Plan. Pursuant

to the Amended RSA, the Plan Modifications are supported by prepetition lenders that collectively

hold over 90% of all First Lien Term Loan Claims and 90% of all Second Lien Term Loan Claims,

as well by the substantial majority of the Debtors’ term DIP lenders.

               Approval     of   the   Plan    Modifications    will    facilitate   the   Debtors’

successful reorganization and position them for future success. The Debtors therefore seek

approval of a notice to send to all parties in interest, including the holders of claims in Class 3

(First Lien Term Loan Claims) and Class 4 (Second Lien Term Loan Claims), the only two Classes

of claims affected by the Plan Modifications and entitled to vote on the Amended Plan. The

Debtors also request a hearing seeking approval of the Plan Modifications after all parties in

interest receive notice of the Amended Plan and an opportunity to object pursuant to the procedures

proposed herein (or as otherwise modified by this Court).

               For the reasons set forth above and herein, the Debtors submit that (a) the Notice

of Plan Modifications (as defined herein) satisfies section 1127(c) of the Bankruptcy Code, (b) the



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Modification Schedule (as defined herein) is appropriate under section 1127(d) of the Bankruptcy

Code, (c) the Vote Modification Form (as defined herein) is appropriate under the applicable

provisions of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and the Local

Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District

of Delaware (the “Local Rules”), and (d) the Plan Modifications comport with section 1127(b) of

the Bankruptcy Code. Accordingly, the Debtors respectfully request the Court grant the relief

requested herein.

                                                Relief Requested

                    The Debtors seek entry of an order, substantially in the form attached hereto as

Exhibit A, (a) approving the proposed form of notice of the Plan Modifications, which is

attached as Exhibit 1 to Exhibit A hereto (the “Notice of Plan Modifications”), (b) approving the

schedule of dates and deadlines set forth below, (c) approving the proposed form of vote

modification form attached as Exhibit 2 to Exhibit A hereto (the “Vote Modification Form”), and

(d) granting related relief. Moreover, the Debtors request a hearing seeking approval of the

Amended Plan as set forth below.

                    In connection with the foregoing, the Debtors request that the Court approve the

following schedule of proposed dates and deadlines (the “Modification Schedule”):

                          Event                                                      Date
                                                              The date of the hearing to consider approval of this
    Record Date4
                                                              motion
    Deadline to Distribute the Notice of Modifications        One business day after entry of an order approving
    and Vote Modification Form                                the relief requested in this motion

    Deadline for holders of Class 3 and Class 4 Claims October 18, 2019, at 4:00 p.m., prevailing
    to change prior vote on Plan with respect to such Eastern Time


4
      The record date is the date for determining which holders of Class 3 Claims and Class 4 Claims are entitled to
      change their prior vote on the Plan with respect to such Claims in relation to the Amended Plan.


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                       Event                                               Date
 Claims and for parties to object to the Amended
 Plan (the “Objection Deadline”)

 Filing of Amended Certification of Votes on October 21, 2019, at 9:00 a.m., prevailing
 the Plan                                    Eastern Time

                                                       October 21, 2019, or as soon thereafter as is
 Hearing on Confirmation of Amended Plan               reasonably practicable based on the Court’s
                                                       availability

                                      Jurisdiction and Venue

                The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated as

February 29, 2012. The Debtors confirm their consent, pursuant to Bankruptcy Rule 7008 and

Local Rule 9013-1(f) to the entry of a final order by the Court in connection with this motion to

the extent that it is later determined that the Court, absent consent of the parties, cannot enter final

orders or judgments in connection herewith consistent with Article III of the United

States Constitution.

                Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                The bases for the relief requested herein are sections 105(a), 1127(b), 1127(c), and

1127(d) of title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”),

Bankruptcy Rules 2002 and 9006(c), and Local Rule 9006-1(e).

                                            Background

I.      Post-Confirmation Developments.

                On July 19, 2019 (the “Petition Date”), each Debtor filed a voluntary petition for

relief under chapter 11 of the Bankruptcy Code. On August 29, 2019, the Court entered the

Confirmation Order. Following entry of the Confirmation Order, the Debtors worked diligently


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to satisfy the various prerequisites for the Plan’s effectiveness, including obtaining all regulatory

approvals necessary to implement and effectuate the Plan.5

                 By mid-September, the Debtors realized that, due to a confluence of unforeseen

market headwinds, including a substantial drop in metallurgical and thermal coal prices and limited

coal spot market activity, they would need a further infusion of new capital to fund emergence

costs and to fund operations.

                 Specifically, since July, the price of thermal coal has fallen by approximately 10%,

while the price of metallurgical coal has fallen by approximately 20%. As the following chart

demonstrates, this is a substantial decline based on the Debtors’ budget estimates:




5
    Plan, Art. IX.A.2 (providing that it is a condition precedent to the Plan’s effectiveness that “the Debtors shall
    have obtained all . . . regulatory approvals . . . that are necessary to implement and effectuate the Plan”).


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                 In light of this unexpected decline, the Debtors implemented a series of operational

changes to limit excess inventory build and cash spend to mitigate the impact of adverse coal

market conditions. These measures primarily involved changes to mine operating schedules,

which can be reversed if the coal markets improve. Although the Debtors’ operational changes

should mitigate the cash impact of this decline, it is still lower than previously expected.

                 The adverse market conditions led to a shortfall of operating cash receipts

for the period from the filing date to September 27, 2019, compared to the original DIP

budget of $24.0 million.     Additionally, the Debtors’ current forecast of cash receipts from

September 28, 2019, to October 11, 2019, reflects an additional shortfall of $22.6 million during

the same period in the original DIP budget. Moreover, the plan was to emerge from bankruptcy

by the end of August 2019, and this lengthened process also has resulted in incremental

professional fees and U.S. Trustee fees.

                 The Debtors have made progress in reducing operating cash expenditures but not

enough to offset the combination of the shortfall in operating cash receipts and increased cost of

the restructuring process. Actual and currently projected operating cash disbursements are lower

for the period from the petition date to October 11, 2019, compared to the original DIP budget by

$4.0 million.

                 Based on these changed circumstances, the Debtors promptly engaged their ad hoc

lender groups on ways to address the Debtors’ near-term need for liquidity while still preserving

the overall Plan construct.6 The parties also engaged in discussions regarding modifications to the




6
    The Debtors and the DIP lenders made corresponding amendments to the DIP ABL Agreement and the DIP Term
    Agreement.


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Plan to further reduce the Debtors’ go-forward leverage.7 This included multiple in-person and

telephonic meetings between the Debtors and their creditors, as well as among the creditors

themselves, and three amendments to the RSA on September 12, 2019, September 20, 2019, and

September 27, 2019, respectively, extending the milestone for Plan effectiveness through and

including October 2, 2019. On October 2, 2019, following good-faith, arm’s-length negotiations

among the Debtors and the ad hoc lender groups, the parties reached agreement on an amendment

to their DIP term loan facility providing for an additional $35 million of new money and the

Amended Plan. The support for the Amended Plan is documented in the Amended RSA.

II.       The DIP Amendment and the Amended Plan.

                   Under the proposed DIP amendment, the substantial majority of the Debtors’

existing DIP term lenders have committed to provide the Debtors with $35 million in additional

new money DIP term loans, pursuant to the terms and conditions of the DIP Term Agreement.8

                   The Amended Plan incorporates modified take-back debt and equitization terms

that, together, will reduce the Reorganized Debtors’ go-forward leverage from approximately

$465 million to approximately $175 million. Under the Amended Plan, the Debtors’ DIP term

lenders will receive $85 million of first lien take-back debt under the New First Lien Loan for the

new money DIP term loans provided to the Debtors during these chapter 11 cases, and the

$100 million roll-up portion of the DIP term loan facility will be equitized. The Amended Plan

also reallocates distributions of equity in the reorganized company. It provides that holders of

roll-up DIP claims will receive 21.5% of the equity in the reorganized company, holders of


7
      In connection with this process, the Debtors provided the creditors and their advisors with an updated near-team
      liquidity forecast that showed lower-than-expected receipts and a need for more cash. Apart from this updated
      forecast, the creditors did not receive any new financial information from the Debtors.
8
      Further detail about the DIP amendment is set forth in a separate motion seeking approval of that amendment,
      filed contemporaneously herewith.


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prepetition first lien term loan claims will receive 68.5% of such equity, and that holders of

prepetition second lien term loan claims will receive 10% of such equity.

               The below chart summarizes differences between the Plan and the Amended Plan

with respect to the treatment of Roll-Up DIP Claims, Class 3 First Lien Term Loan Claims, and

Class 4 Second Lien Term Loan Claims.

      Type of Claim            Treatment Under Plan          Treatment Under Amended Plan

                          New First Lien Loan in aggregate
   DIP Roll-Up Claims                                          21.5% of New Common Stock
                              amount of $100 million

                         71% of New Common Stock and
    Class 3 First Lien
                         $225 million in aggregate amount      68.5% of New Common Stock
    Term Loan Claims
                             of New First Lien Loan

   Class 4 Second Lien
                            29% of New Common Stock             10% of New Common Stock
   Term Loan Claims

               The Amended Plan and DIP amendment also provide for a backstop fee with

respect to the additional $35 million new money DIP financing. Specifically, if a lender entitled

to participate in that $35 million new money DIP financing does not do so, the backstop

commitment party will receive 3.0% of the aggregate New Common Stock that the

non-participating lender otherwise would have received on account of its DIP Roll-Up Claims and

First Lien Term Loan Claims.

                                         Basis for Relief

               The Plan Modifications are appropriate under section 1127 of the Bankruptcy Code,

which governs modifications of a chapter 11 plan. Section 1127(b) provides that the plan

proponent “may modify such plan at any time after confirmation of such plan and before

substantial consummation of such plan.” Section 1127(c) requires the plan proponent to comply

with the “adequate information” requirements set forth in section 1125 of the Bankruptcy Code

with respect to proposed plan modifications. Section 1127(d) further states that “any holder of

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a claim or interest that has accepted or rejected a plan is deemed to have accepted or rejected, as

the case may be, such plan as modified, unless, within the time fixed by the court, such holder

changes such holder’s previous acceptance or rejection.”

               Given this statutory regime, by this motion, the Debtors first seek approval of the

Notice of Modifications to provide parties with adequate information with respect to the Plan

Modifications. The Debtors similarly seek that the Court establish an Objection Deadline and a

deadline by which parties may change their votes to accept the plan, and set a hearing to consider

approval of the Plan Modifications. This requested process complies with both the statute and the

case law interpreting section 1127 of the Bankruptcy Code. See In re FCX, Inc., 853 F.2d 1149,

1156 (4th Cir. 1988) (“[T]he modification requirements provide for (1) notice of a proposed plan

modification, (2) notice of the information necessary for a creditor to assess the nature and impact

of the modification, (3) a hearing on the propriety of the proposed modification, (4) an opportunity

for an impaired creditor to object to the modification, and (5) an assessment by the bankruptcy

court that the modified plan meets the requirements of § 1129.”).

I.      The Notice of Modifications Satisfies Section 1127(c) of the Bankruptcy Code.

               Section 1127(c) of the Bankruptcy Code requires the proponent of a plan

modification to comply with the “adequate information” requirements set forth in section 1125 of

the Bankruptcy Code with respect to the proposed modification. Thus, under section 1127(c), if a

modification would “materially and adversely impact[] parties who previously voted for the plan,”

those parties must receive “adequate information” regarding the modified plan—and an




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opportunity to change their prior vote.               See In re Am. Solar Corp., 90 B.R. 808, 823-24

(Bankr. W.D. Tex. 1988).9 “Adequate information” means:

         information of a kind, and in sufficient detail, as far as is reasonably practicable in
         light of the nature and history of the debtor and the condition of the debtor’s books
         and records, including a discussion of the potential material Federal tax
         consequences of the plan to the debtor, any successor to the debtor, and a
         hypothetical investor typical of the holders of claims or interests in the case, that
         would enable such a hypothetical investor of the relevant class to make an informed
         judgment about the plan . . . . holders of impaired claims and interests that voted to
         accept the plan, but would be likely to reconsider their acceptance had they known
         of the modification before so voting.

11 U.S.C. § 1125(a)(1). What constitutes “adequate information” is “determined by the facts and

circumstances of each case.” Oneida Motor Freight, Inc. v. United Jersey Bank, 848 F.3d 414, 417

(3d Cir. 1988). Adequate information does not require “a valuation of the debtor or an appraisal

of the debtor’s assets.” 11 U.S.C. § 1125(b).

                   Here, the Court has already determined that the Debtors’ disclosure statement for

the Plan [Docket No. 17] (the “Disclosure Statement”) contains “‘adequate information’ . . . with

respect to the Debtors, the Plan, and the transactions contemplated therein.” Confirmation Order

¶ 8. The Plan Modifications only affect the treatment of Class 3 First Lien Term Loan Claims,

Class 4 Second Lien Term Loan Claims, and DIP Roll-Up Claims under the Plan. Thus, the only

parties in interest who may be “materially and adversely impacted” by the Plan Modifications are

holders of Class 3 Claims, Class 4 Claims, and DIP Roll-Up Claims. And, of these parties, only

holders of Class 3 Claims or Class 4 Claims were entitled to vote on the Plan.10



9
     “A modification is material if it so affects a creditor or interest holder who accepted the plan that such entity, if
     it knew of the modification, would be likely to reconsider its acceptance.” Am. Solar, 90 B.R. at 824
     (emphasis in original) (internal quotation marks and citation omitted).
10
     The Debtors acknowledge that the Plan Modifications “materially and adversely impact” holders of Class 3
     Claims or Class 4 Claims “who previously voted [those Claims to accept] the [P]lan,” and thus those holders are
     entitled to “adequate information” regarding the Plan Modifications, the Amended Plan, and the transactions
     contemplated thereby. The Debtors also acknowledge that the holders of DIP Roll-Up Claims have an opportunity

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                  The Debtors submit that the Notice of Plan Modifications contains the requisite

adequate information regarding these matters to enable the relevant holders to make an informed

judgment about the Amended Plan, including whether to change their prior vote on the Plan in

relation to the Amended Plan. The Notice of Plan Modifications, which will be distributed to all

parties in interest following the entry of an order approving the relief requested herein, provides

parties with, among other things, a detailed discussion of (a) the circumstances surrounding the

formulation and filing of the Amended Plan, (b) the differences between the Plan and the Amended

Plan, and (c) how the Plan Modifications affect (or do not affect) treatment of particular Claims

under the Amended Plan. The Notice of Plan Modifications also directs holders of Class 3 Claims

and Class 4 Claims to the Vote Modification Form, should they seek to change their prior vote on

the Plan with respect to those Claims in relation to the Amended Plan, and directs holders of DIP

Roll-Up Claims with information regarding objections to the Plan Modifications and the Amended

Plan.

                  While the Notice of Plan Modifications does not contain updated financial

projections for the Debtors or an updated valuation analysis, the Debtors submit that the

“adequate information” standard does not require such disclosure under the circumstances here.

Based on the Disclosure Statement and the Notice of Plan Modifications, all holders of Class 3

Claims and Class 4 Claims will have sufficient information to form their own views of the Debtors’

value and prospects going forward in an increasingly uncertain market environment.11 Indeed, the

Debtors’ DIP lenders agreed to provide the Debtors with $35 million of additional financing


     to object to the Plan Modifications and are entitled to information with respect to the changed treatment under the
     Amended Plan.

11
     The Notice of Plan Modifications also states, in bold text, that the facts and assumptions underlying the financial
     projections and valuation analysis attached to the Disclosure Statement are no longer accurate, and that the
     projections and the valuation analysis should not be relied upon.


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without the benefit of the Debtors’ long term projections based on their sophisticated views of the

market and agreement to significantly reduce the Reorganized Debtors’ go-forward leverage.

               For the foregoing reasons, the Debtors submit that the Notice of Plan Modification

satisfies the “adequate information” requirements of sections 1125 and 1127(c) of the Bankruptcy

Code and should be approved.

II.     The Modification Schedule is Appropriate Under Section 1127(d) of the
        Bankruptcy Code.

               Under section 1127(d) of the Bankruptcy Code, a creditor that votes to accept a

chapter 11 plan will be deemed to accept the plan as subsequently modified unless the creditor

changes its prior acceptance “within the time fixed by the court.”          Although Bankruptcy

Rule 2002(a)(5) normally requires 21 days’ notice of approval of a proposed plan modifications,

this date is subject to reduction under Bankruptcy Rule 9006(c) for “cause shown.” Local

Rule 9006-1(e) further provides that a motion may be heard on less notice than as otherwise

required if authorized “by order of the Court, on written motion (served on all interested parties)

specifying the exigencies justifying shortened notice.”

               The Debtors submit that there is ample cause to shorten the notice period with

respect to the Plan Modifications and confirmation of the Amended Plan. As an initial matter, the

Debtors’ stay in chapter 11 has been longer than anticipated, and it is critical from a business

standpoint that the Debtors emerge as soon as possible to maintain the “business as usual”

messaging of these chapter 11 cases. Relatedly, the Debtors seek an expeditious emergence to

limit the rising administrative costs of these chapter 11 cases.

               Moreover, parties in interest will not be prejudiced by the Modification Schedule’s

approximately two week vote modification and objection period. First, the Plan Modifications

are supported by holders of a sufficient amount and number of Class 3 Claims and Class 4 Claims


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to secure each Class’s acceptance of the Amended Plan under section 1126(c) of the Bankruptcy

Code. Based on the support for the Plan Modifications, an approximately two week vote

modification and objection period with respect to the Amended Plan is appropriate.

               Second, the Claims in the voting classes—Class 3 First Lien Term Loan Claims

and Class 4 Second Lien Term Loan Claims—are not publicly traded, which simplifies various

logistical and administrative aspects of establishing and implementing a vote modification process

with respect to such Claims. And this, in turn, allows for a more efficient vote modification process

with respect to such holders. Thus, the nature of the Claims in the voting classes also supports the

propriety of the Modification Schedule.

               Third, given the relatively straightforward nature of the Plan Modifications, a two

week vote modification and objection period with respect to the Amended Plan appropriately

balances the interests of the Debtors and other parties in interest regarding the progression of the

Debtors’ chapter 11 process. The two week period is similar to the 11-day period the parties

originally had to vote to accept or reject the Plan. Moreover, the only parties affected by the

modifications are highly sophisticated financial institutions, the substantial majority of which are

already in discussions with the Debtors regarding the proposed modifications. The other parties

in interest are not affected by these modifications. Thus, the Debtors respectfully submit that the

Modification Schedule provides sufficient time for parties in interest to consider and process the

relevant documents (including the Notice of Plan Modifications) and make an informed judgment

about the Amended Plan.

               For the foregoing reasons, the Debtors respectfully submit that the Modification

Schedule is appropriate under section 1127(d) and 9006(c) and should be approved.




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III.    The Vote Modification Form is Appropriate.

               The Debtors submit that the Vote Modification Form is appropriate.             First,

to the extent that the Vote Modification Form implicates Bankruptcy Rule 3018(c)

(regarding the form of acceptance or rejection of a chapter 11 plan), it satisfies the requirements

of that Bankruptcy Rule. The Vote Modification Form (a) requires holders of Class 3 Claims and

Class 4 Claims to indicate, in writing, whether they are changing their prior votes on the Plan with

respect to those Claims in relation to the Amended Plan; (b) must be signed by the holder or an

authorized agent of the holder to be effective; and (c) is based on the appropriate Official Form—

Official Form 314, the official form of ballot for accepting or rejecting a reorganization plan—

with certain modifications, as applicable, to address the particular circumstances of these

chapter 11 cases.

               Second, approval of the Vote Modification Form is appropriate under

section 105(a) of the Bankruptcy Code, which authorizes the Court “to issue any order, process,

or judgment that is necessary or appropriate to carry out the provisions of [the Bankruptcy Code].”

The Vote Modification Form is appropriate to carry out the Bankruptcy Code’s provisions relating

to acceptance and confirmation of a reorganization plan—the Amended Plan—and chapter 11’s

overall purpose: maximizing value for stakeholders through a successful reorganization of the

debtor company. The Vote Modification Form is a key part of the process for ensuring the

requirements for obtaining confirmation of the Amended Plan are satisfied, which will facilitate

the Debtors’ successful reorganization and position them for future success. Accordingly, the

Debtors submit that approval of the Vote Modification Form is appropriate under section 105(a)

of the Bankruptcy Code.

               For these reasons, the Debtors respectfully submit that the Vote Modification Form

is appropriate and should be approved.

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IV.     The Plan Modifications Are Appropriate under Section 1127(b) of the
        Bankruptcy Code.

               Under section 1127(b) of the Bankruptcy Code, the proponent of a confirmed

reorganization plan may modify the confirmed plan “at any time . . . before substantial

consummation of [the] plan,” provided that the plan as modified satisfies sections 1122 and 1123

of the Bankruptcy Code. A confirmed plan that is modified under section 1127(b) “becomes the

plan only if circumstances warrant such modification and the court, after notice and a hearing,

confirms such plan as modified, under section 1129 of [the Bankruptcy Code].”

               The Plan expressly reserves the Debtors’ rights to modify the Plan

post-confirmation, as does the Confirmation Order. Plan at Art. X.A; Confirmation Order ¶ 89.

        A.     The Plan Has Not Been Substantially Consummated.

               The Plan has not been “substantially consummated” within the meaning of

section 1101(2) of the Bankruptcy Code. Under section 1102(2), “substantial consummation”

means “(A) transfer of all or substantially all of the property proposed by the plan to be transferred;

(B) assumption by the debtor or by the successor to the debtor under the plan of the business or of

the management of all or substantially all of the property dealt with by the plan; and

(C) commencement of distribution under the plan.”

               None of these conditions has occurred with respect to any Debtor or any estate

property: There has not been a transfer of all of substantially all of the property proposed by the

Plan to be transferred, and each Debtor remains under the control of its existing board of directors

(or managers). No liabilities have been assumed by the Reorganized Debtors, nor have any

distributions been made pursuant to the Plan. Indeed, the Plan has not been substantially

consummated as the Debtors have not satisfied or obtained waivers for the conditions precedent




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to substantial consummation set forth in Article IX.A of the Plan. Accordingly, the Plan has not

been substantially consummated with respect to any Debtor.

        B.       The Circumstances Warrant the Plan Modifications.

                 Courts have held that modification of a confirmed chapter 11 plan is warranted

where “unforeseen circumstances render the confirmed plan unworkable . . . .” In re Boylan Int’l,

Ltd., 452 B.R. 43, 50 (Bankr. S.D.N.Y. 2011) (collecting cases) (internal quotation marks and

citation omitted). For example, modification of a confirmed plan may be warranted where a

substantial, adverse change in market conditions has rendered the confirmed plan unworkable.

See, e.g., In re Price, 2008 WL 2001902, at *4 (Bankr. D.N.M. May 8, 2008) (indicating that a

substantial change in market conditions may support modification of a confirmed plan); In re Gene

Dunavant & Son Dairy, 75 B.R. 328, 334 (M.D. Tenn. 1987) (finding that modification of the

debtor’s confirmed plan was warranted where “the debtor suffered a loss of revenues so serious as

to render the original plan unworkable,” and such loss was not “the result of any culpable act or

omission” on the debtor’s part).

                 Here, a confluence of various market headwinds, including a significant decline in

coal prices over the past several months, has led to an unforeseen increase in the Debtors’

go-forward liquidity needs and has caused the Debtors and their lenders to reconsider the

appropriate leverage for the business going forward. Without these modifications, the confirmed

Plan would have been unworkable. Under these circumstances, the proposed Plan Modifications

are warranted.

                 First, the Plan Modifications are responsive to the unforeseen deterioration in

market conditions. The Plan Modifications provide for, among other things, a downsizing of the

New First Lien Loan, which will increase go-forward liquidity by reducing the amount of the

periodic debt service payments due in respect of the New First Lien Loan. The total amount of

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the New First Lien Loan has decreased from $375 million to $85 million—a drop of $290 million.

This deleveraging necessitated a re-allocation of the equity in the reorganized company, with more

of it going to the prepetition first lien lenders and the roll-up DIP lenders (who are no longer

receiving any take-back debt under the Amended Plan).

                 Second, the Plan Modifications are also limited in scope.       They only affect

Class 3 First Lien Term Loan Claims, Class 4 Second Lien Term Loan Claims, and DIP Roll-Up

Claims (which will be equitized). With respect to the DIP Roll-Up Claims, the Debtors either have

the consent of such creditors or do not expect such creditors to object to the equitization of such

claims. Thus, the Amended Plan preserves the reasonable expectations of holders of Claims

(and Interests) in other classes.

                 Finally, with respect to Classes 3 and 4, the Plan Modifications are supported by

holders of a sufficient amount and number of Class 3 Claims and Class 4 Claims to secure each

Class’s acceptance of the Amended Plan under section 1126(c) of the Bankruptcy Code.

                 For these reasons, the Debtors submit that the circumstances warrant the Plan

Modifications.

        C.       The Plan Modifications Satisfy Section 1127(b)’s Other Requirements for
                 Modifying a Confirmed Plan.

                 Pursuant to the Confirmation Order, the Court has already determined that the Plan

satisfies the requirements of sections 1122, 1123, and 1129 of the Bankruptcy Code. The Plan

Modifications do not change the classification of claims and interests under the Plan, the treatment

of claims and interests within classes, the means for implementation, the issuance of voting

securities, or otherwise change the Plan in a way that implicates sections 1122 or 1123 of the

Bankruptcy Code.




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               The Plan Modifications also should not affect the Plan’s confirmation under

section 1129 of the Bankruptcy Code. Specifically, the modifications do not alter the facts

underlying this Court’s findings with respect to sections 1129(a)(1)–(7), (12)–(16). The Debtors

also submit that to the extent implicated, the Amended Plan also meets the requirements under

section 1129(a)(8) (or, otherwise, section 1129(b)) and sections 1129(a)(9)–(11).

               First, as with the Plan, there are certain potentially impaired classes of claims and

interests under the Amended Plan that may be deemed to reject it (Classes 6, 7, and 9). Pursuant

to the Confirmation Order, this Court has determined that the Debtors met the requirements for

confirmation under section 1129(b) of the Bankruptcy Code with respect to those classes. The

Plan’s treatment of these classes has not changed in the Amended Plan. Thus, the Debtors will not

be able to meet the requirements under section 1129(a)(8) of the Bankruptcy Code and must rely

on section 1129(b) of the Bankruptcy Code. Section 1129(b) requires that, as required by

section 1129(a)(10), there be at least one impaired accepting class of claims. The holders of a

sufficient amount and number of Class 3 Claims and Class 4 Claims to secure each Class’s

acceptance of the Amended Plan under section 1126(c) of the Bankruptcy Code support these

modifications through the Amended RSA. The holders of Class 3 Claims and Class 4 Claims will

have the opportunity to change their votes pursuant to the Vote Modification Form.              But

assuming that the holders of Class 3 Claims and Class 4 Claims do not change their votes

(and such holders are required to support the Amended Plan pursuant to the Amended RSA), the

Amended Plan will satisfy section 1129(a)(10) because each of Class 3 and Class 4 will accept the

Amended Plan. Moreover, the Plan Modifications do not alter the facts underlying the Court’s

determination that the Plan satisfies section 1129(b) with respect to Classes 6, 7, and 9, and the

Debtors do not expect any change in those facts. Accordingly, the Debtors submit that the



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Amended Plan will satisfy section 1129(a)(10) and section 1129(b) of the Bankruptcy Code, and

the Amended Plan’s potential non-compliance with section 1129(a)(8) should not be an

impediment to confirmation.

               Second, to the extent that the Plan Modifications implicate section 1129(a)(9) of

the Bankruptcy Code (with respect to holders of DIP Roll-Up Claims), the Debtors expect that all

holders of DIP Roll-Up Claims will consent to the equitization of those Claims. If these holders

either affirmatively consent or do not object to such treatment, the Amended Plan will satisfy

section 1129(a)(9) with respect to such DIP Roll-Up Claims.

               Third, to the extent that the Plan Modifications implicate section 1129(a)(11) of the

Bankruptcy Code, the Debtors respectfully submit that approval of the Plan Modifications, which

will significantly reduce the Reorganized Debtors’ leverage, will reinforce the Reorganized

Debtors’ ability to continue as going concerns without the need for further reorganization. Thus,

the Debtors submit that the Amended Plan satisfies section 1129(a)(11) of the Bankruptcy Code.

               Accordingly, the Debtors submit that the Amended Plan satisfies the requirements

of sections 1122, 1123, and 1129 of the Bankruptcy Code.

                                              Notice

               The Debtors have provided notice of this motion to the following parties or their

respective counsel: (a) the office of the U.S. Trustee for the District of Delaware; (b) the holders

of the 30 largest unsecured claims against the Debtors (on a consolidated basis); (c) the

administrative agent under the Debtors’ prepetition asset-based revolving credit facility; (d) the

administrative agent under the Debtors’ prepetition first lien term loan facility; (e) the

administrative agent under the Debtors’ prepetition second lien term loan facility; (f) counsel to

the Ad Hoc Crossover Group; (g) counsel to the First Lien Group; (h) the administrative agent

under the Debtors’ debtor in possession term loan financing facility; (i) the administrative agent

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under the Debtors’ debtor in possession asset-based revolving financing facility; (j) the

Environmental Protection Agency and similar state environmental agencies for states in which the

Debtors operate; (k) the office of the attorneys general for the states in which the Debtors operate;

(l) the United States Attorney’s Office for the District of Delaware; (m) the Internal Revenue

Service; and (n) any party that has requested notice pursuant to Bankruptcy Rule 2002. The

Debtors submit that, in light of the nature of the relief requested, no other or further notice need

be given.

                                        No Prior Request

                No prior request for the relief sought in this motion has been made to this or any

other court.




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        WHEREFORE, the Debtors respectfully request that the Court enter an order, substantially

in the form attached hereto as Exhibit A, granting the relief requested herein and such other relief

as the Court deems appropriate under the circumstances.

Dated: October 3, 2019
Wilmington, Delaware

 /s/ L. Katherine Good
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